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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

CHRISTOPHER R. NEARY                  :      CIVIL NO. 3:14CV01631 (VLB)

     v.                               :

SYED JOHAR NAQVI, et al.              :      JULY 12, 2017

                 EMERGENCY MOTION FOR PROTECTIVE ORDER

      Pursuant to Rule 37 of the Federal Rules of Civil Procedure, the

defendants, Murphy, Chapdelaine, Maldonado, Santiago, Tarascio and Ford,

respectfully move for a protective order staying, in part, further discovery in this

case until after a decision is rendered on defendants’ motion to dismiss.         If

defendants' motion is denied in whole or in part, they seek an enlargement of

time to respond to the discovery requests within thirty days after a ruling on the

defendants' motion to dismiss. This motion does not include the Correctional

Managed Health Care defendants.

      Plaintiff's counsels were contacted to determine their position on this

pleading. Despite the absence of a single factual allegation against the DOC

defendants, with over 2,500 pages of documents provided by the Department of

Correction and Correctional Managed Health Care in response to subpoenas,

coupled with discovery requests of these six defendants that are identical to

information sought and obtained by subpoena, they are opposed to this request.

      In further support of this motion, defendants submit the attached

memorandum of law to which the court is respectfully referred.
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                                               DEFENDANTS
                                               Dr. Wu, Dr. Naqvi,
                                               Murphy, Chapdelaine, Maldonado,
                                               Santiago, Tarascio and Ford

                                               GEORGE JEPSEN
                                               ATTORNEY GENERAL


                                        BY:_/s/ Zenobia Graham-Days
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                                   CERTIFICATION

      I hereby certify that on July 12, 2017, a copy of the foregoing was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation

of the Courts electronic filing system. Parties may access this filing through the

Court's system.

                                               _/s/ Zenobia Graham-Days
                                               Zenobia G. Graham-Days
                                               Assistant Attorney General




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